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                         UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

IVETTE M. MARTINEZ GONZALEZ, ET
AL.,

     Plaintiffs,

                   v.                                CIVIL NO. 16–2077 (GAG-BJM)

CATHOLIC SCHOOLS OF THE AR-
CHIDIOCESES OF SAN JUAN PENSION
PLAN, ET AL.,

   Defendants.



                   MOTION TO STRIKE PLAINTIFFS’ MOTION TO COMPEL

To The Honorable Court:

       Defendants, Catholic Schools of the Archdioceses of San Juan Pension Plan

and the Superintendence of Catholic Schools of the Archdioceses of San Juan re-

spectfully move, under Local Rule 7(d), to strike the plaintiffs’ motion to compel (ECF

No. 123), which was impermissibly filed without this Honorable Court’s leave.

                                           ARGUMENT

       “Rules are rules—and the parties must play by them,” wrote Judge Bruce M.

Selya over a quarter-century ago in Méndez v. Banco Popular de Puerto Rico, 900 F.2d 4, 7

(1st Cir. 1990). And that powerful principle of course applies to local rules. See, e.g., Tex-

as v. United States, 798 F.3d 1108, 1114 (D.C. Cir. 2015) (“Because a district court’s local

rules have the force of law, the State of Texas—like all lawyers and litigants—is duty
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bound to comply with them”) (internal citations and quotation marks omitted) (quot-

ing, e.g.,, In re Jarvis, 53 F.3d 416, 422 (1st Cir.1995)).

       Local Rule 7(d) commands, in pertinent part, “Except by prior leave of Court [,] . . .

[n]on-dispositive motions and memoranda or oppositions to those motions shall not ex-

ceed fifteen (15) pages in length.” (Emphasis added); see Brown v. Colegio De Abogados De

Puerto Rico, 826 F. Supp. 2d 406, 419 (D.P.R. 2011) (construing Local Rule 7(d) and not-

ing that it “provides the page limits for all motions filed with the Court and clarifies

that a motion which exceeds the page limit cannot be filed without leave of Court”).

“The page limit is designed,” Judge Frank Easterbrook once remarked, “as much for the

benefit of the litigants as for the benefit of the court. If extra pages mean stronger argu-

ment, enforcement of the page limit protects those who obey the rules. But extra pages

may not be stronger argument. A limitation induces the advocate to write tight prose,

which helps his client’s cause.” Morgan v. S. Bend Cmty. Sch. Corp., 797 F.2d 471, 480 (7th

Cir. 1986); accord, e.g., First Fed. Fin. Corp. v. Carrión-Concepción, 87 F. Supp. 3d 332, 335

(D.P.R. 2015).

       Here, however, the plaintiffs' motion to compel contains over 21 pages. It, thus,

violates the 15-page limit applicable to such non-dispositive motions.

       To make matters worse, the plaintiffs “never sought, and therefore the Court

never granted, leave to exceed the page limit.” Brown, 826 F. Supp. 2d at 419; Standard

Oil Co. (Puerto Rico) v. Rodríguez Pérez, No. 01-2012, 2005 WL 114080, at *11 (D.P.R. Jan.


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20, 2005). The plaintiffs' motion to compel, then, should be “STRICKEN FROM THE

RECORD for failing to comply with Local Rule 7(d).” Brown, 826 F. Supp. 2d at 419

(typeface in original); see also Rivera Sanchez v. Autoridad de Energia Electrica, 360 F. Supp.

2d 302, 308 (D.P.R. 2005) (“str[iking] from the record . . Opposition . . . because it ex-

ceeded the page limit . . . .”) (internal citation omitted). In short, an order striking the

noncompliant motion is in order.

                                          CONCLUSION

       For the reasons stated, this Court should strike the plaintiffs’ defective motion to

compel.

Dated: August 21, 2017                       Respectfully submitted,



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                            CERTIFICATE OF SERVICE

       I certify that, on this day, the foregoing was electronically filed with the

Clerk of Court by using the CM/ECF system, which will send a notice of electronic filing

to all counsel of record.



                                      By: /s/ Jaime L. Sanabria Montañez




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